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           EXHIBIT B
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                                                                         U.S. Department of Homeland Security
                                                                         Washington, DC 20229

                                                                         U.S. Customs and Border
                                                                         Protection


                                                                    DIS-3 OT:RR:RDL:FAP
                                                                    CBP-AP-2023-000828 MMC


                              July 5, 2023


Mr. Mike Howell
Director of the Oversight Project
Investigative Columnist at The Daily Signal
The Heritage Foundation
214 Massachusetts Avenue
Washington DC 20002


RE: Amended Freedom of Information Act Appeal; Prince Henry Charles Albert David, Duke
of Sussex; CBP-FO-2023-053731

Dear Mr. Howell:

This letter serves as an amendment to our May 23, 2023 decision in which we affirmed that U.S.
Customs and Border Protection (CBP) can neither confirm nor deny the existence of records
related to the Duke of Sussex.
In your initial request and subsequent appeal you sought, [a]ll records within the Alien File (A-
File) of Prince Henry Charles Albert David (Date of Birth 09/15/1984) of the British Royal
Family aka Prince Harry aka His Royal Highness Prince Henry of Wales aka the Duke of
Sussex, including but not limited to:
• Any and all applications for immigration benefits filed, whether or not adjudicated;
• Any and all Forms I-213;
• Any and all Forms I-275; and
• Any and all Forms I-877.
Additionally, you sought [a]ll records pertaining to the Duke of Sussex in the following system
of records maintained by CBP and DHS:
• Automated Targeting System (ATS, DHS/CBP-006);
• Advance Passenger Information System (APIS, DHS/CBP-005);
• Border Crossing Information System (BCIS, DHS/CBP-007);
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• U.S. Customs and Border Protection TECS (DHS/CBP-011);
• Non-Federal Entity Data System (NEDS, DHS/CBP-008);
• DHS Use of the Terrorist Screening Database (TSDB) System of Records (DHS/ALL-030);
• CBP Intelligence Records System (CIRS, DHS/CBP-024);
• DHS Automated Biometric Identification System (IDENT, DHS/USVISIT-004;
• Electronic System for Travel Authorization (ESTA, DHS/CBP-009);
• Nonimmigrant Information System (NIIS, DHS/CBP-016);
• Arrival and Departure Information System (ADIS, DHS/CBP-021); and
• Electronic Visa Update System (EVUS, DHS/CBP-022).
Finally you sought, all records relating to any requests for waiver pursuant to Section 212(d)(3)
of the Immigration and Nationality Act including, but not limited to, email communications
within the DHS Office of the Secretary, the USCIS Office of the Director, the CBP Office of the
Commissioner, or any subordinate office within those named departments or agency or a record
of any communication between any of those named entities and the U.S. Department of State, the
U.S. Embassy in London, the Federal Bureau of Investigation, or U.S. Immigration and Customs
Enforcement.
Appeal Determination
Your appeal was denied on two separate grounds, first that you failed to provide authorization
from the Duke of Sussex allowing for the release of agency records concerning him to you, and
second that even acknowledging the existence of records would infringe upon his privacy
interests. More specifically, we found that FOIA Division’s interpretation of DHS Regulation 6
C.F.R. §5.3(a)(4) was within the discretionary scope of the regulation and separately, that the
agency could neither confirm nor deny the existence of records related to the Duke of Sussex as
doing so would betray the privacy interests protected by Exemptions (b)(6) and (b)(7)(C).

While we continue to assert CBP’s interpretation of DHS Regulation 6 C.F.R. §5.3(a)(4) was
within the discretionary scope of the regulation, we are now able to acknowledge that certain
entry and exit records exist for the Duke of Sussex. CBP continues to neither confirm nor deny
the existence of any other requested records regarding the Duke of Sussex, as explained in our
May 23, 2023 decision.

Entry and Exit Records

To find entry and exit records concerning the Duke of Sussex we searched the TECS 1 system for
those records. TECS is an overarching law enforcement information collection, analysis, and
sharing environment that securely links telecommunications devices and personal computers to a

1
  For a full explanation of what the TECS system of records contains, see the TECS system of records notice (SORN) at 73 Fed.Reg. 77778
(December 19, 2008). For example, border crossing information resides on the TECS information technology platform. See 81 Fed. Reg. 89957
(December 13, 2016). These, as well as all other CBP SORNs and Privacy Impact Assessments (PIA), can be viewed at
https://www.dhs.gov/system-records-notices-sorns and https://www.dhs.gov/privacy-impact-assessments, respectively.

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central system and database. This environment is comprised of several modules designed to
collect, maintain, and screen data as well as conduct analysis, screening, and information
sharing. TECS includes border crossing information on travelers entering and departing the
United States.

We found two types of entry and exit records by searching TECS: Person Encounter Lists and
Person Encounter Detail records. A Person Encounter List is a list that indicates when a person
has entered or exited the United States through U.S. federal air, land, and sea inspection sites and
may include information regarding multiple encounters. A Person Encounter Detail record
includes additional travel, manifest and carrier information for an individual encounter with a
person. We are withholding these records in full pursuant to Exemptions (b)(6,) (b)(7)(C) and
(b)(7)(E).

Exemptions 6 and 7(C) of the FOIA, 5 U.S.C. § 552(b)(6), (7)(C)

FOIA Exemption (b)(6) was applied to the entry and exit records to protect personal information
of the Duke of Sussex (the Duke) and the names and identifying information of CBP employees.
The Duke’s personal information includes but is not limited to the type of document the Duke
used to travel, that document’s number, document country, the date and time the Duke arrived in
or left the United States, the date he is admitted until, what airport he arrived or left from, his
class of admission, etc.

FOIA Exemption (b)(6) provides for the exemption from disclosure of “personnel and medical
files and similar files.” 5 U.S.C. §552(b)(6). The United States Supreme Court held that the
phrase “personnel and medical and similar files” was to be broadly interpreted and includes all
information that “applies to a particular individual 2.” Unquestionably, these records, created by
the agency in furtherance of its mission qualify as “similar files” within the terms of the
exemption.

Once the threshold requirement that the records are “personnel and medical and similar files” is
met, the issue becomes whether disclosure of the information “would constitute a clearly
unwarranted invasion of personal privacy.” 5 U.S.C. §552(b)(6). The resolution of this issue
involves a balancing of the public’s right to know the information against the individual’s right
to privacy. 3

In addition to the application of Exemption (b)(6), the names and other identifying information
of CBP employees as well as the Duke’s personal information are withheld under Exemption
(b)(7)(C). Exemption (b)(7)(C) exempts from disclosure “records and information compiled for
law enforcement purposes” the disclosure of which “could reasonably be expected to constitute
an unwarranted invasion of personal privacy.” 5 U.S.C. §552(b)(7)(C). Exemption (b)(7) applies
to civil, criminal, and administrative law enforcement proceedings, and protects, among other
information, the identity of law enforcement personnel and third parties referenced in files
compiled for law enforcement purposes.


2
    U.S. Dep’t of State v. Wash. Post Co., 456 U.S. 595, 601 (1982).
3
    See Rose, 425 U.S. at 372.

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The identified TECS records that we withhold today meet the requirement for being compiled for
law enforcement purposes. CBP is a law enforcement agency with enforcement responsibilities
for more than 400 federal statutes. Therefore, many of the files created and maintained by CBP
are directly related to law enforcement operations. CBP’s mission is to protect the borders of the
United States by enforcing the customs and immigration laws of the United States and fostering
our Nation’s economy through lawful international trade and travel. Given the nature of your
request and the location of the responsive records, the records being withheld by this letter are
law enforcement records because such records are compiled in direct relation to CBP’s law
enforcement mandate to protect the U.S. borders.

Here, Exemption (b)(7)(C) is asserted to protect the personal information of the Duke of Sussex
and the names and identifying information of CBP employees responsible for creating the
records in question and conducting the law enforcement activities.
Both Exemption (b)(6) and Exemption (b)(7)(C) have been found to protect the privacy interests
of all persons mentioned in law enforcement records, including investigators, suspects, witnesses
and informants. Courts have ‘long recognized,’ the mention of an individual’s name in a law
enforcement file will engender comment and speculation and carries a stigmatizing
connotation. Not only the targets of law-enforcement investigations, but also ‘witnesses,
informants, and investigating agents’ have a substantial interest in ensuring that their relationship
to the investigations remains secret. 4 We therefore find the privacy interest of both the Duke and
the CBP Officers 5 mentioned in the records to be significant.
Our analysis then turns to whether you as a requester have identified a public interest sufficient
to overcome the privacy interest of those individuals. That public interest can only be the one
that furthers FOIA’s lone goal: “to open agency action to the light of public scrutiny.” 6
In this case you assert that the public interest outweighs the Duke’s right to privacy. Although
courts have found that an individual's status as a public figure might in some circumstances
factor into the privacy balance of Exemptions (b)(6) and (b)(7)(C), 7 a public figure does not, by
virtue of their status, forfeit all rights of privacy. 8 You argue that there is an overriding public
4
  Lewis v. Dep’t of Justice, 609 F. Supp. 2d 80, 84 (D.D.C. 2009). See also Roth v. Dep’t of Justice, 642 F.3d 1161,
1174 (D.C. Cir. 2011)
5
  Personnel of a “security agency,” have a substantial privacy interest in that information not being released to the
public. See 5 CFR §293.311; Memorandum from CBP Acting Commissioner Mark Morgan, All CBP Designated as
a Security Agency under Office of Personnel Management (January 31, 2020).
6
  Rose, 425 U.S. at 372.
7
  See, e.g., Rosenfeld v. DOJ, No. 07-3240, 2012 WL 710186, at *4 (N.D. Cal. Mar. 5, 2012) (finding that privacy
interest "is low because . . . the subject is a public figure") (Exemptions 6 and 7(C)); Jud. Watch, Inc. v. DOJ, No.
00-0745, 2001 U.S. Dist. LEXIS 25731, at *13 (D.D.C. Feb. 12, 2001) (noting that pardoned prisoners "arguably
bec[a]me public figures through their well-publicized pleas for clemency and [given] the speeches some have made
since their release" and that EOUSA had failed to demonstrate that their privacy interests outweighed the public
interest in disclosure) (Exemption 7(C)).
8
  See Forest Serv. Emps. for Env't. Ethics v. U.S. Forest Serv., 524 F.3d 1021, 1025 (9th Cir. 2008) (noting that
"while the privacy interests of public officials are 'somewhat reduced' when compared to those of private citizens,
'individuals do not waive all privacy interests . . . simply by taking an oath of public office'") (quoting Lissner v.
U.S. Customs Serv., 241 F.3d 1220, 1223 (9th Cir. 2001)); Kimberlin v. DOJ, 139 F.3d 944, 949 (D.C. Cir. 1998)
(stating that ''although government officials, as we have stated before, may have a 'somewhat diminished' privacy
interest, they 'do not surrender all rights to personal privacy when they accept a public appointment'") (quoting

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interest in release of any records because public confidence in the government would
undoubtedly suffer if CBP failed to properly vet such a high-profile case. Moreover, you argue
that if the Duke of Sussex was granted preferential treatment that too would undermine public
confidence in CBP’s application of equal justice under the law.

Not all assertions of "public interest" under Exemptions 6 and 7(C) are legitimately entitled to
any real weight in the balancing process. 9 A “bare suspicion” of agency misconduct is
insufficient. A FOIA requester must produce evidence that would warrant a belief by a
reasonable person that alleged Government impropriety might have occurred. 10 An allegation of
"public interest" that is nothing more than a general public curiosity in the subject matter of
requested records is legally insufficient. 11 You assert that public confidence in the government
would undoubtedly suffer if CBP failed to properly vet such a high-profile case and/or if the
Duke of Sussex was granted preferential treatment. You have submitted a significantly large
number of articles concerning behavior that describe activities that could result in the Duke of
Sussex facing heightened scrutiny at the border. You therefore argue the Duke of Sussex’s travel
and inspection records should be released to the public to determine if he was granted
preferential treatment because such treatment would undermine public confidence in CBP’s
application of equal justice under the law.

All persons, baggage and merchandise arriving in the Customs territory of the United States from
places outside thereof are liable to inspection by a CBP officer. 12 Unless exempt by diplomatic


Quinon v. FBI, 86 F.3d 1222, 1230 (D.C. Cir. 1996)) (Exemption 7(C)); Fund for Const. Gov't v. NARA, 656 F.2d
856, 865 (D.C. Cir. 1981); Jud. Watch, Inc. v. DOJ, 394 F. Supp. 3d 111, 118 (D.D.C. 2019) (finding that subject's
FBI-related notoriety certainly weakens their privacy interest but that their status as a "public figure with a well-
known association with the FBI does not, to be sure, destroy his privacy interest in other communications he may
have had with the FBI") (Exemptions 6 and 7(C)); Citizens for Resp. & Ethics in Wash. v. DOJ, 840 F. Supp.2d 226,
233 (D.D.C. 2012) (observing that "'individuals have a strong interest in not being associated unwarrantedly with
alleged criminal activity'" and "this may be especially true for politicians who rely on the electorate to return them to
public office") (quoting Stern v. FBI, 737 F.2d 84, 91-92 (D.C. Cir. 1984)); Citizens for Resp. & Ethics in Wash. v.
DOJ, 846 F. Supp. 2d 63, 71 (D.D.C. 2012) (observing that "despite the fact that [a congressman's] privacy interest
is 'somewhat diminished' by the office he holds, he nevertheless 'd[id] not surrender all rights to personal privacy
when [he] accept[ed] a public appointment'") (quoting Quinon v. FBI, 86 F.3d 1222, 1230 (D.C. Cir. 1996))
(Exemption 7(C)); Taitz v. Astrue, 806 F. Supp. 2d 214, 219 (D.D.C. 2011) (noting that "an individual's status as a
public official does not, as plaintiff contends, 'make exemption 6 irrelevant to him and his vital records'"), summary
affirmance granted, No. 11-5304, 2012 WL 1930959 (D.C. Cir. May 25, 2012); Nat'l Sec. News Serv. v. Dep't of the
Navy, 584 F. Supp. 2d 94, 96 (D.D.C. 2008) (finding that "[d]isclosure of the requested patient admission records
only would reveal who was admitted to the Naval Medical Center; it would reveal nothing about the Navy's own
conduct" and "[t]his is so irrespective of whether one of the persons then admitted to the hospital is now a public
figure"); "do not forfeit all vestiges of privacy"); Phillips v. ICE, 385 F. Supp. 2d 296, 305 (S.D.N.Y. 2005)
(disregarding requester's unsupported claim that former foreign government officials have no "legitimate privacy
interest[s]"); Wolk v. United States, No. 04-0832, 2005 WL 465382, at *5 (E.D. Pa. Feb. 28, 2005) ("[O]fficials do
not surrender all of their rights to personal privacy when they accept a public appointment.") (Exemptions 6 and
7(C)); cf. McNamera v. DOJ, 974 F. Supp. 946, 959 (W.D. Tex. 1997) (stating that "[s]imply because an individual
was once a public official does not mean that he retains that status throughout his life," and holding that three years
after a disgraced sheriff resigned, he was "a private, not a public figure") (Exemption 7(C)).
9
  See, Church of Scientology v. Department of the Army, 611 F.2d 738, 747 (9th Cir. 1980) ("There could be no
legitimate public purpose served by disclosure of this information.").
10
   Aguirre v. SEC, 551 F. Supp. 2d 33, 56 (D.D.C. 2008)
11
   Fund for Constitutional Government v. National Archives & Records Service, 656 F.2d 856, 866 (D.C. Cir. 1981).
12
   19 C.F.R. 162.6

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status, all persons entering the United States, including U.S. citizens, are subject to examination
and search by CBP officers. CBP officers must determine the nationality of each applicant for
admission and, if determined to be a noncitizen, whether or not the applicant meets the
requirements of the Immigration and Nationality Act for admission to the United States.
CBP processed more than 179 million travelers at the ports of entry in FY2021, including more
than 44 million travelers at airports. 13 CBP’s information systems are constantly updated with
timely and relevant information, such as a person’s behavior and demeanor at subsequent
interactions. Furthermore, information that may have subjected a traveler to additional scrutiny
at one time has the possibility of being considered untimely and irrelevant at a later date. Given
these facts, one person’s CBP entry and exit records, even a famous person’s, is insufficient
evidence to undermine public confidence in CBP and its application of equal justice under the
law. As such we find that you have not provided sufficient public interest to outweigh the Duke
of Sussex’s right to privacy concerning his entry and exit records.

Without an individual's consent or an overriding public interest, providing the Duke’s entry and
exit records would constitute a clearly unwarranted invasion of personal privacy pursuant to
Exemption 6 and could reasonably be expected to constitute an unwarranted invasion of personal
privacy pursuant to Exemption 7(C).

Exemption (b)(7)(E) of the FOIA, 5 U.S.C. § 552(b)(7)(E)

We additionally withhold law enforcement techniques and procedures practiced by CBP
personnel while evaluating individuals for international travel to or from the United States
pursuant to Exemption (b)(7)(E), which exempts material that was compiled for law enforcement
purposes and that would disclose previously unknown “techniques and procedures” or
“guidelines” for “law enforcement investigations or prosecutions.” 5 U.S.C. § 552(b)(7)(E).

While application of the exemption is limited to cases in which disclosure could reasonably be
expected to risk circumvention of the law, Exemption (b)(7)(E) “sets a relatively low bar for the
agency to justify withholding.” 14 To clear that relatively low bar, an agency must demonstrate
only that release of a document might increase the risk that a law will be violated or that past
violators will escape legal consequences. Once determined that information falls within
Exemption (b)(7)(E)’s purview, it does not suffer a balancing test similar to other exemptions.
Rather, it is “categorically exempt” from disclosure. 15

The fields of data withheld pursuant to Exemption (b)(7)(E) in the Person Encounter Lists and
Person Encounter Detail records, which appear in such records for all travelers, are routinely
withheld by CBP as they contain otherwise unknown, specific law enforcement techniques,
procedures, and guidelines followed by CBP when performing its law enforcement mandate of
securing this nation’s borders. The information indicates what circumstances might trigger
additional scrutiny while processing international travelers for entry into the country and
provides instructions to CBP personnel related to which law enforcement techniques ought to be

13
   CBP Trade and Travel Report Fiscal Year 2021| April 2022 p.4
14
   Blackwell v. Fed. Bureau of Investigation, 646 F.3d 37, 42 (D.C. Cir. 2011).
15
   Fisher v. Dep’t of Justice, 772 F. Supp. 7, 12 at n. 9 (D.D.C. 1991).


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practiced in those circumstances. Disclosure of this information “would illustrate the agency’s
strategy in implementing these specific techniques,” and, in turn, “could lead to decreased
effectiveness in future investigations by allowing potential subjects to anticipate… and identify
such techniques as they are being employed.” 16

As a general matter, “it would appear obvious that those immediately and practically concerned
with such matters would be individuals embarked upon clandestine and illicit operations, the
detection of which would be frustrated if they were privy to the methods employed… to ferret
them out.” 17

Although this matter is already the subject of litigation, we are required by law to advise you that
the Freedom of Information Act, particularly Title 5 U.S.C. § 552 (a)(4)(B), provides you with
the opportunity to seek judicial review of this administrative appeal. You may institute judicial
review in the United States District Court in the district in which you reside, have a principal
place of business, where the agency records are located, or in the United States District Court for
the District of Columbia.

As part of the 2007 FOIA amendments, the Office of Government Information Services (OGIS)
was created to offer mediation services to resolve disputes between FOIA requesters and Federal
agencies as a non-exclusive alternative to litigation. Using OGIS services does not affect your
right to pursue litigation. If you are requesting access to your own records (which is considered
a Privacy Act request), you should know that OGIS does not have the authority to handle
requests made under the Privacy Act of 1974.

You may contact OGIS in any of the following ways: Office of Government Information
Services, National Archives and Records Administration, Room 2510,
8601 Adelphi Road, College Park, MD 20740-6001
E-mail: ogis@nara.gov Telephone: 301-837-1996: Toll-free: 1-877-684-6448
Facsimile: 301-837-0348

                                            Sincerely,

                                            Shari Suzuki
                                            Shari Suzuki, Chief
                                            FOIA Appeals and Policy
                                            Regulations and Rulings Directorate
                                            Office of International Trade
                                            Customs and Border Protection




16
   Lewis-Bey v. Dep’t of Justice, 595 F. Supp. 2d 120, 138 (D.D.C. 2009), Buffalo Evening News, Inc. v. U.S. Border
Patrol, 791 F. Supp. 386, 393 (W.D.N.Y. 1992) (protecting records that “would clearly disclose the USBP’s
techniques for apprehending excludable aliens”).
17
   Caplan v. Bureau of Alcohol, Tobacco & Firearms, 587 F.2d 544, 547 (2d Cir. 1978).


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